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UNITED STATES COURT OF APPEALS F | L E D

FOR THE NINTH CIRCUIT DEC 20 2022

MOLLY C. DWYER, CLERK
U.S. COURT OF APPEALS

GEORGE D. SMITH, No. 22-16240
Plaintiff-Appellant, D.C. Nos. 3:18-cv-03757-VC
3:16-md-02741-VC
Vv. Northern District of California,

San Francisco
MONSANTO COMPANY,
ORDER
Defendant-Appellee.

Appellant’s unopposed motion for a limited remand (Docket Entry No. 8) is
granted. See Fed. R. App. P. 12.1(b). This appeal is remanded to the district court
for the limited purpose of enabling the district court to consider appellant’s Federal
Rule of Civil Procedure 60 motion.

Within 60 days after the date of this order or 7 days after the district court’s
ruling on the Rule 60 motion, whichever occurs first, appellant shall file a report
on the status of district court proceedings and/or motion for appropriate relief.

Briefing is stayed.

FOR THE COURT:
MOLLY C. DWYER

CLERK OF COURT

By: Alex Christopher
Deputy Clerk
Ninth Circuit Rule 27-7

AC/MOATT
